Case 2:15-cv-02637-SRB Documenti1 Filed 12/29/15 Page 1 of 20

SABRINA GARCIA
139 West Elwood
Phoenix Az. 85041
Pro se

7 FILED ____ LODGED
___ RECEIVED __ COPY
DEC 29 2015

ERK U S DISTRICT COURT
CU ISTRICT OF ARIZONA
BY C3 DEPUTY

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

SABRINA GARCIA, L. G.,A. G.J.G. ,K. )

G.
Plaintiff,
Vs

The Arizona Department Of

Economic Security, Child Safety and
Family Services, Child Protective
Services, Linda Esparza, Alma Aguirre
Jackie Cirricione, Lynn Heart

Ron Siegel, Elizabeth Overholt

Karin Cather, Rosa Chavarria

Dr. Glen Moe, Karina Lopez

Tammy M. Ruiz, Brian Bowman

Nancy Galvin, Rosangela Alicea
Stephen Woo, Allyson L. Stefaniuk
Leticia Holguin, Armando Holguin
Ms. Rachel Lee, Marie Toni Baeza
Jeffery Meyer, Judge Uderal

Steven berley, David Lee

Unkown Parties, Domingo Baeza

Defendants

Nee Ne eee ee ee ee ee ee ee ee es 8 ee ee 8 8 ee

Case No CV-15-02637-PHX-SRB

CIVIL ACTION

COMPLAINT FOR VIOLATION

OF CIVIL RIGHTS 42 U.S.C . § Sec
1983/1985

JURY TRIAL DEMANDED

INTRODUCTION

Now come Plaintiffs, as and for their complaint, alleges and asserts the following
claims against the Defendants in the above entitled action:

Case 2:15-cv-02637-SRB Documenti Filed 12/29/15 Page 2 of 20

JURISDICTION
1. This action arises under:

a. The Constitution of the United States, Fifth Amendment (right to due
process and equal protection of the law); Article IV, § 1 (privileges and immunity
clause); and under:

b. Title 28 United States Code § 1331, which provides that anyone stating
facts raising a federal cause of action has the right to file in the district courts a
civil action stating claims arising under the Constitution, laws, or treaties of the
United States.

c. Title 28 United States Code § 1343, which provides a federal court forum in
which citizens may seek redress from the deprivation of rights, privileges and
immunities under color of state law.

d. Civil Rights Act, Title 42 United States Code §§ 1983-1986, that provides a
federal remedy to anyone suffering from violations of his civil rights perpetrated
under color of state law including: Conspiracy to interfere with civil rights;
Deprivation Of Rights;

e. Title 42 U.S.C. § 1985 Conspiracy to interfere with civil rights, based upon
the conspiracy by the defendants that repeatedly violated plaintiff's civil rights.

f. Title 42 United States Code § 1986, which provides for damages from those
defendants who had knowledge of the violations of plaintiff's civil rights, who had
the duty and the ability to prevent or aid in the prevention of them, and who failed
to perform that duty.

(1) Social workers (and other government employees) may be sued for
deprivation of civil rights under 42 U.S.C. § 1983 if they are named in their
‘official and individual capacity’. Hafer v. Melo, (S.Ct. 199)

(2) State law cannot provide immunity from suit for Federal civil rights
violations. State law providing immunity from suit for child abuse
investigators has no application to suits under § 1983. Wallis v. Spencer, (9th

Cir. 1999)

(3) If the law was clearly established at the time the action occurred, a police
officer is not entitled to assert the defense of qualified immunity base on good
faith since a reasonably competent public official should know the law

governing his or her conduct. Harlow v. Fitzgerald, 457 U.S. 800, 818 1982)

(4) Immunity is defeated if the official took the complained of action with
malicious intention to cause a deprivation of rights, or the official violated
clearly established statutory or constitutional rights of which a reasonable
person would have known. McCord v. Maggio, (6th Cir. 1991)

(5) A defendant in a civil rights case is not entitled to any immunity if he or
she gave false information either in support of an application for a search

Case 2:15-cv-02637-SRB Documenti1 Filed 12/29/15 Page 3 of 20

warrant or in presenting evidence to a prosecutor on which the prosecutor

based his or her charge against the plaintiff. Young v. Biggers, (Sth Cir. 1991

g. Title 18 United States Code §§ 1961-1964. The Racketeer Influenced and
Corrupt Organizations act (hereafter "RICO") claim arises from the pattern of
multiple predicate acts perpetrated by defendants over a 8-year span. The predicate
acts of racketeering by multiple defendants affected the civil rights of defendants.

i. Declaratory Judgment Act, Title 28 United States Code §§ 2201 and 2202,
which provides for district courts to declare rights and legal relations that are in
controversy, and provide whatever remedies are appropriate.

j. Title 18 United States Code § 4. This federal crime reporting statute
requires any person who knows of a federal crime to promptly "report it to a federal
judge" or other officer.

k. right to be free from unreasonable searches and seizures.

1. malicious abuse of process.

m. false arrest and imprisonment

n. negligence

o. intentional infliction of emotional distress

p. The matters in controversy exceed ten million dollars.

VENUE
2. Venue is based upon the following:

a. This court has jurisdiction over this action pursuant to 28 U.S.C § 1331 as
it involves claims under TITLE 42 UNITED STATES CODE, CHAPTER 21 - CIVIL
RIGHTS

b. Venue is proper in this judicial district pursuant to 28 U.S.C § 1391
(1)(2)(3) as the Plaintiffs and Defendants reside in this district, and the violations
of law complained of herein occurred in this district.

c. A number of the wrongful acts and federal causes of action occurred while
plaintiff was a resident of the District of Arizona.

d. Plaintiff resides in Arizona and consider Arizona their domicile.

e. The children that were wrongfully taken from Plaintiff were located in the
District of Arizona.

f. All defendants participated in wrongful conduct that affected District of
Arizona interests, including property and plaintiffs residences and domicile.

g. Venue exists in any location for reporting criminal activities to a federal
judge, as required by federal crime reporting statute, Title 18 U.S.C. § 4.

h. Venue lies in this district pursuant to 28 U.S.C. §§ 1391(a), (b), (e);
1392(b); 1402(b).

i. CPS Workers and The Arizona Department Of Economic Security in
Arizona have feloniously retaliated against plaintiff for seeking to report these
crimes. These retaliatory acts were felonies under Title 18 U.S.C. §§ 1505, 1510,
1512, 1513(b). They are also felonies by obstructing justice under Title 18 U.S.C. §§
2, 3,

Case 2:15-cv-02637-SRB Documenti Filed 12/29/15 Page 4of 20

PLAINTIFF PARTIES
. SABRINA GARCIA

oR ON

DEFENDANT PARTIES
. The Arizona Department Of Economic Security
. Child Protection Services, Child Safety and Family Services
. Linda Esparza
. Alma Aguirre
. Jackie Cirricione
. Lynn Heart
. Ron Siegel
. Elizabeth Overholt
. Karin Cather
10. Rosa Chavarria
11. Dr. Glen Moe
12. Karina Lopez
13. Tammy M. Ruiz
14. Brian Bowman
15. Nancy Galvin
16. Rosangela Alicea
17. Stephen Woo
18. Allyson L. Stefaniuk
19. Leticia Holguin
20. Armando Holguin
21. Ms. Rachel Lee
22, Marie Toni Baeza
23. Jeffery Meyer
24. Judge Uderal
25. Steven berley
26. David Lee
27. Unkown Parties
28 Domingo Baeza

COoOnnwh wD

PRELIMINARY STATEMENT
3. This action raises multiple federal causes of actions for which federal judges have
a mandatory responsibility to provide a federal court forum and relief. Plaintiffs,
have been deprived of personal and property rights, and civil rights in direct and
repeated violations of due process of law. Although all allegations must be accepted
as true at this stage of the pleading, most of the allegations are stated in attached

Case 2:15-cv-02637-SRB Documenti1 Filed 12/29/15 Page5 of 20

Affidavits, exhibits, and plaintiffs request that judicial notice be taken of these

Affidavits.
Further, during discovery, this evidence will be entered into these proceedings.

4. Plaintiffs re-alleges and incorporates by reference each and every allegation
contained in Paragraph 1 through 3 above, inclusive, as though fully set forth.

STATEMENT OF FACTS
5. L. G. , was born on June 4* 2003,
6. A. G., was born on July 26, 2004
7.J3.G., was born on July 2™4, 2007
8. K. G. , was born on_July 17% , 2009

9.CPS(Children Protective Services) open a case in November 2009, L. school had
called Sabrina Garcia to say they needed to talk to her about L. . Sabrina Garcia
went to the school and was informed that L. had informed the school she had been
hit with a toilet paper holder. The school ran an investigation, Informed CPS and
found that L. was hit by a backpack, by a fellow student at school. CPS, the school,
the medical report, all agreed this is what occurred, and that there was NO abuse
by Sabrina that occurred at home or any where else.

10. Later in December an officer came to the school claimed that L. had been hit
that day by Sabrina with a toilet paper holder. His final report claimed he went to
the home but the meeting had actually occurred at the school. Even thought he
learn that L. was hit by fellow school and it happen in November. The officer never
put this in his report. Alma Aguilar Garcia from CPS called several days later to
inform Sabrina CPS has opened case based on this police report. She asked to come
to the house and Sabrina Garcia granted her the right to visit the home.

11. Alma Aguilera Garcia came to the home with a young lady around the age of 19
or 20. Alma sat down on the couch asked if the girl could search the home, Sabrina
Garcia said “okay”. The first words that came out of her mouth were that “Sabrina
had committed a crime”, and Alma read Sabrina the Miranda rights. Her dad John
Garcia was present, he questioned her, on her Legal ability of reading the Miranda
rights Alma said “she can do whatever she wants”, Sabrina dad also asked Alma if
Sabrina needed a lawyer she said “no” her dad advised Alma that the conversation
and everything was over and that she needed to leave. At that point she had asked
the young girl to strip-search the children Sabrina refused to allow her to do sucha
thing without a court order, or without any probable cause. Alma said “she can do
whatever she wants, and she did have the right to search strip-searched children

Case 2:15-cv-02637-SRB Documenti1 Filed 12/29/15 Page 6 of 20

and she would have her arrested right there and then if Sabrina objected.” At that
point Sabrina asked her to leave. She refused to leave; she told her Sabrina she was
opening a CPS case because she had hit her daughter with a toilet paper holder and
that she would have to go into a six months program.

12. Alma Aguilera Garcia wrote her report that Sabrina’s home was well kept and
had lots of food. Alma neglected to mention the incidents of reading Sabrina the
Miranda Rights or the strip searching of her children. Alma wrote her report about
the school incident that she had abused her daughter in spite of the fact that CPS
and the school’s report stated otherwise. Her report indicated that the people who
did the original report didn’t know what they were doing and that they didn’t know
their job. Yet CPS relies on those reports for their cases. The reports were never
entered into the court record as far as the courts were concern they never existed.
She filed in a report that the children had missed 65 days a school, yet the school’s
file showed that they only missed one day an un-excused, and 16 days for medical
reasons. Alma never said in her report who the girl was that was with her.

13. Alma Aguilera Garcia put Sabrina on a family preservation program, sent CPS
to the house once or twice a week in attempt to find something. On March 26 2010
family preservation for CPS brought her ex-boyfriend Domingo with them at which
time they told Sabrina, he was there to visit his daughter and I had no rights to
deny him visitation, in spite of fact of a restraining order for him not to be there.
They asked for Sabrina to give them Tony Baeza phone number and address which
was Domingo’s foster mother. Which she did, then three days later Domingo shows
up at Sabrina’s house, screaming at her that CPS is taking away his daughter and
her children from Sabrina. Sabrina told Domingo to leave and not to return. As
Sabrina showered he breaks in to the house through a bedroom window, He beats
on her. Sabrina runs out of the house and calls the police, unfortunately when the
police show up he is gone. In the police report it wrongly indicates that Sabrina,
then the domestic violence occurred. The report that Alma Aguilera Garcia files is
completely different than the police report she explains in her report that she was
present to see Domingo hit her. The report also indicates that he climbed thru the
window to gain entry, but at the time she wrote the report the police report had not
yet been written. One must conclude she was in contact with Tony Baeza to have
inside knowledge of the events that occurred on March 30, 2010

14. On March 31, 2010, Alma Aguilera Garcia came to the home of Sabrina Garcia,
one of Sabrina’s friends was present at that time. Alma spoke freely in front of him
stating, they would have a TM meeting on April 8, 2010 in regards to taking away

Domingo’s rights. So he couldn’t bother her anymore and that CPS was not taking

Sabrina’s children from her.

Case 2:15-cv-02637-SRB Documenti Filed 12/29/15 Page 7 of 20

15. On April 8, 2010, Sabrina went to TM meeting at which time Alma informed
Sabrina that she was taking her children away because of domestic violence. She
asked Alma for my children and Sabrina asked her she had a court order. She said
“T don’t need a court order I can do whatever I want.” Sabrina called her dad and
her dad spoke to Alma Aguilera Garcia. Alma Aguilera Garcia told her dad that she
could do what she wants. She took Sabrina’s phone and walked away, calling every
number on the phone to find out where the children were at. She sent someone to
pick up the children who were with their godparents. It took 8 day for Alma
Aguilera Garcia to take the children this shows the children were not in immediate
danger and she then proceeded to give false testimony to the court that they where.

16. A CPS worker Stephen Woo and Lynn Heart went to pick up the children at
McDonald’s in Glendale AZ. He had no Court order; he informed and threatens the
godparents that if they didn’t give him the children he would place them under
arrest. They refused; he grabbed the children and took the children even though
they said no. In his report he states that he had picked up the children from the
mother and the father and they were present at the time, they were not present.
Sabrina was at CPS offices.

17. Alma Aguilera Garcia on May 8, 2010 upon taking the children to the foster
mother’s home told the children that foster mother and the foster father was there
mommy and daddy and they were not going home ever. From that point on no
matter what the children said about the foster parents it was reflecting the Sabrina.
The mother challenge that with CPS and her attorneys and said there was an
improper act she called Gov.’s office and they said that was a violation of CPS’s
rules yet Alma Aguilera Garcia deliberately and willfully violated that rules so that
whatever the foster parents did it would seem that whatever child told anyone it
was a “mommy and daddy”, CPS would say and report Sabrina did, even though it
was the foster parents.

18. On April 13 a hearing was held to see if CPS had probable cause. At that time
Alma Aguilera Garcia asked the judge for a court order to pick up the children
telling the judge that she didn’t have the children yet. They had illegally taken the
children without a court order or probable cause. Her document stated that it was
“abuse”, because of domestic violence although Sabrina was the VICTIM not the
perpetrator that did not matter to CPS of Arizona.

19. Alma Aguilera Garcia had the police officer write a supplementary report to the
domestic violence that happened on March 30, 2010. The officer sat down with the
children L. and A.. Then wrote a report and added expanded on the domestic
violence. From the time she sat down with the children it took her 12 days to write
a 35 line report. So far there is no tape recording of this interview. No second police
officer to verify what was said. There’s a follow-up of the detective who basically did

Case 2:15-cv-02637-SRB Documenti1 Filed 12/29/15 Page 8 of 20

not find that any of it was true. She was not able to interview the children for the
foster parents or Alma Aguilera Garcia of CPS wouldn’t let her.

20. The judge ordered that CPS could not do anything with these children without
prior consent by the mother. The judge ordered that they couldn't cut their hair,
take them anywhere without the mother’s permission or limit visitation, and
monitor her phone calls when she spoke to her children. Yet the foster parents and
Alma Aguilera Garcia for CPS still disobeyed the Judges ruling.

21. Sabrina took a CPS worker with her to get her son’s hair cut. When the barber
started to cut his hair, they notice that her son had been abused. He had various
strap marks on his body they brought it to the attention of the CPS worker who
stated that her mother did it but the child had been away from home and with the
foster parents for more than a month it was reported to the courts and at that time
the foster parents and a CPS worker Linda Esperanto covered up the abuse of the
four children.

22. Immediately after that incident Sabrina was accused by the foster mother of
abuse. The foster mother said “Sabrina whispered in her daughter’s ears and
threatened to come in kill her.” The foster mother also accused Sabrina of molesting
her children. In May CPS worker Linda Esperanto sent an email to the foster
mother telling her they had no case that they needed something MORE, that is
when the molestation came into play. Although CPS had taken the children for
medical checkup, and the children were not molested they still added that to the
case. Somewhere in June they created a video tape at a session in the foster
mother’s home, they did not invite a police officer or the mother to the session. The
session was to investigate molestation. They call L. and A. into the living room and
ask them to show them How to do a sex act. They wrote all their documents up and
went to the judge. The judge explained to Linda Esperanto why they had violated
the law; and they also went to the Phoenix police department and ask them to run a
full investigation. The Judge had informed them that when investigation was over.
They should stop and cease what they were doing, and if it can came to point that
nothing had happened, that the mother would resume her visitation. The police
department ran it full investigation. Sabrina asked to speak to the police officer.
Linda Esperanto of CPS said no. Sabrina couldn’t speak to the police officer so
Sabrina had to find out on her own who the police officer was and made
arrangements for an interview and she took a lie detector test. The final police
report was given to CPS on February 2011 that showed that there was no
molestation and that the foster parents had coached the children what to say. In
spite of that, CPS went on to take away Sabrina rights and convict her of
molestation in Family Court; no evidence was presented to the judge, BECAUSE
there was no molestation. CPS refused to give her any documents or discovery. The

Case 2:15-cv-02637-SRB Documenti1 Filed 12/29/15 Page 9 of 20

Judge ordered them to turn over the medical records of the children and all the
records that they had. Till this day they have never done that, Linda Esperanto
refuse to do so. Any statue of Limitations argument by the defendants becomes
moot as they intentionally concealed the fact finding process from the Plaintiffs .
Equitable tolling, this principle of law stating that a statute of limitations shall not
bar a claim in cases where the Plaintiff, despite use of due diligence, could not or
did not discover the injury until after the expiration of the limitations period.

It has been held that equitable tolling applies principally if the plaintiff is actively
misled by the defendant about the cause of action or is prevented in some
extraordinary way from asserting his or her rights. However, it has also been held
that the equitable tolling doctrine does not require wrongful conduct on the part of
the defendant, such as fraud or misrepresentation. In this case the Defendants
willfully committed fraud in their case in chief and by so doing deprived the
Plaintiffs their Constitutional rights.

They gave the attorneys bits and pieces of discovery but not the full records. They
cherry picked what documents and discovery they forwarded to the Plaintiffs. As a
CPS said they can do anything they want and write anything they want, the Courts
will believe them. She went through the first trial, and at that time the Judge found
that she was wrong seeing her boyfriend. She was ordered to do services. The judge
ordered the children dependent upon the state and upon the mother. In spite of the
fact that Linda Esperanto and CPS and Karin Carter had full knowledge she was
innocent of molestation they went to a judge who never returns children if there’s
molestation and the falsified every record to make sure that she had no chance of
getting her children back. CPS denied Sabrina and her children their civil rights.

23. On March 30, 2010 and June 21, 2010 the Day Cps Investigated and
Interviewed the Children on Private Property without Exigent Circumstances or
Probable Cause.

24, Cps removed the children on April 8, 2010 ; No persons may not be “seized”
without a court order or being placed under arrest.

25. Cps used false documents of Sabrina Deann Garcia, Knowingly in court
proceedings to obtain an outcome that tainted those Court proceedings. They also
gave Dr.Glen Moe Sabrina( Deann Garcia’s records) to evaluate Sabrina Garcia and
children which slanted his report to the Court.

26. Cps. removed the children on April 8 2014, of the Non-offending Parent. An
Unconstitutional Practice for Cps to Remove Children Solely Because They Saw a
Parent Was a Victim Of Domestic Violence.

Case 2:15-cv-02637-SRB Document1- Filed 12/29/15 Page 10 of 20

27. Cps knowingly deprived children of proper health care. The Garcia Family has a
hereditary disease “Melas”, this needs to be watched and treated, this has not
occurred. “Not in the best interest of the children.” L. had four seizures in the foster
parents care, J. was 50lb when he was taken by CPS, in CPS Care 2yrs later he was
24lbs. He was not taken to his doctor’s appointment and Sabrina was not notified
about his health. In the foster parents care Sabrina’s daughter A. fell off the back of
their moving truck and was not taken to a doctor. Any damages that she may have
incurred will cause serious problems for her in the future with her Melas disease.

28. Cps knowingly made false and misleading statement to the Court in proceedings
that ended with the result of removing the children and not seeing their mother or
going home.

29. Linda Esparza a Social worker for Cps participated in an illegal investigation of
at the foster mother’s home.

30. Alma Aguirre a Social worker for Cps did an illegal warrantless strip search of
the children in Sabrina’s home.

31. Jackie Cirricione in a supervisor role for Cps oversaw the actions of her staff.

32. Lynn Heart assisted in the documents to take the children away and making
false statements and misleading statements.

33. Ron Siegel gave false testimony, stating he was present during.

34, Elizabeth Overholt intentionally sent documents to the wrong addressee so
Kevin Vale, Sabrina’s Attorney wasn’t able to properly defend Sabrina in
dependency trial.

35. Karin Cather in her official role for the State had Social Services conducting
interviews on the day of the trial of the children, knowing that the Garcia would not
be able to get discovery from these interviews. She had a second trial even though
Sabrina had won the dependency trial. Sabrina was to have services for her
children returned. Karin Cather knew that all the evidence that she was using in
the second trial was false and fictitious but it didn’t matter she used Sabrina Deann
Garcia’s records to indicate to the judge that Sabrina was a deviant person. Then
she asked for all of her rights to be removed at the beginning of the trial which took
way Sabrina right to defend herself and by doing so, she lost all of her rights to a
fair trial under the fourth amendment Fifth Amendment and the 14» amendment.
Not allowing her to a fair just trial.

36. Rosa Chavarria gave false and misleading testimony.

Case 2:15-cv-02637-SRB Document1- Filed 12/29/15 Page 11 of 20

37. Dr. Glen Moe gave false testimony in the trial stating he conducted an interview
with the parents, but no interview ever took place.

38. Karina Lopez and Tammy M. Ruiz in their official roles for (Family
Preservation), arranged a visitation for the natural father of K.,Domingo Baeza.
Who had committed domestic violence and had a restraining order at the time.
Eight days after this visitation they took the children from Sabrina Garcia without
a Court order.

39. Brian Bowman in his official capacity as a social worker reported Sabrina
Garcia as a runaway, in which his supervisor fired him.

40. Nancy Galvin a Cps case worker took an undocumented unwarranted foray
toward Mexico with one of the Minor children.

41. Rosangela Alicea gave false testimony

42. Stephen Woo in his official capacity as a social worker took the children from
their god parents at a local McDonalds without a warrant or probable cause.
Proceeding to threaten the God Parents with the lost of their children if they tried
to stop him from taking Sabrina’s children.

43. Allyson L. Stefaniuk in her official capacity wrote an investigation about
molestation, and filed a false report based on molestation that she knew hadn’t

occurred.

44. Leticia Holguin and Armando Holguin are Foster Parents who colluded with
Cps in the seizing of the Garcia children. The foster parents gave K. an STD, J. had
marks around his neck, black eyes, belt marks on his bottom. Social worker Tresha
hunter was told about Aierl falling off back of truck the bump on her forehead and
the mark under chin. L. was locked in room for two hours an gave shock bracelet so
she could follow their rules. Dr Glen Moe had seen the children in foster parent’s
family setting.CPS use his finding about them as if it was Sabrina and not the
foster mother.

45 Ms. Rachel Lee made false report to cps an told Sabrina’s daughter 1. that she
was going to live with her.

46. Marie Toni Baeza gave false testimony.

47. Jeffery Meyer gave false testimony.

Case 2:15-cv-02637-SRB Document1 Filed 12/29/15 Page 12 of 20

48. Judge Uderal did not protect forth amendment Fifth Amendment in 14th
amendment of Sabrina and the children.

49. The Defendants improper and abuses of the Judicial System in the taking or
Seizing of Sabrina’s children should not take her standing as a parent in regards to
this Complaint. For if their defense is that Sabrina has no rights to bring this
Complaint in their behalf because they illegally took the children and ended her
parental rights. Then who will stand up for the children and we request the Court
to appoint a Guardian ad Litem.

50. David Lee destroyed documents so he could not be properly defend Sabrina
Garcia, and she could not have a fair trial in regards to her children because of this.

51. Evidence from discovery will strongly indicate that the reasons for the record
setting numbers of violations inflicted upon plaintiff by Arizona, Phoenix officials
and their employees arose from a convoluted scheme concocted somewhere high in
the Arizona Department Of Economic Security, and Child Protective Services to
destroy and strip plaintiff of her children and strip them of rights they are entitled
to under the Constitution Of The United States.

52. CPS in court documents during the trial claim they contacted Sabrina’s relatives
to find placement for the children, the relatives they claimed to have contacted had
all passed away. One must ask why; Child Protective Services has a financial
incentive to take children into custody and adopt them out rather than return them.
Why? They get money from the Federal government for every child in custody, and
they get money if the child is adopted. So what do you think they do? For one, they
are more likely to take children into custody in the first place. And second, they are
more interested in taking children they can easily adopt out. On December 30*,
Sabrina realized 2013 a C.P.S. worker came to Sabrina home and in front of 4
witnesses told Sabrina that her 4 children were already adopted and apologized
about way the children had been taken away. “She couldn’t change what had
happen to the children and CPS will not do anything to make thing right, even if
they did wrong. Sabrina realized they knew they had abused the system at this
point. K. had gotten an std in the foster parent’s home from the foster parents. CPS
did not have the best interest in the Children by not moving them to a safe place.”

53. The PLANTIFF’, UNDERSTANDING THAT THEY ARE REQUIRED TO KEEP
THIS COMPLAINT AS LIMITED AS THEY CAN, AND ADVISING THIS
HONORABLE Court that discovery will be required to sort out who did what to
Who, detailing specific infractions and violations of rights by the Defendants.

Case 2:15-cv-02637-SRB Document1- Filed 12/29/15 Page 13 of 20

54. It is the Plaintiff allegation that Defendant Arizona Department Of Economic
Security, parent of Defendant CPS, Defendant CPS and the Defendants listed
herein this complaint and other yet to be identified individuals, were under color of
statutes, ordinances, regulations and custom of Arizona.

55. It is Plaintiff allegation that there are yet unidentified individuals such as the
Police Officers and several unidentified individuals, who, under color of law,
assisted in the cause and actions of the events as described herein above. And
believe that only Discovery will allow these individuals to be identified.

56. Plaintiff, though not “arrested”, where harmed and had their rights to Due
Process, Protection Against Unreasonable Search And Seizure, specifically and
performing search and seizures without warrant, and creating terror and fear and
inflicting great distress and emotional harm.

57. At all times relevant herein, the conduct of all the Defendants were subject to 42
U.S.C. secs. 1983, 1985, 1986, and 1988.

58. Acting under the color of law, Defendants worked a denial of Plaintiffs rights,
privileges or immunities secured by the United States Constitution or by Federal
law, to wit,

Soto v. Flores, 103 F.3d 1056, 1061 (1st Cir. 1997); McNamara v.

Honeyman, 406 Mass. 43, 52 (1989).

(a) by depriving Defendants of their liberty without due process of law, by taking
them into custody and holding him there against their will,

County of Sacramento v. Lewis. 523 U.S. 833 (1998); Youngberg v. Romeo, 457

U.S. 307, 315 (1982

(b) by making an unreasonable search and seizure of their property without due
process of law,

(c) by conspiring for the purpose of impeding and hindering the due course of
justice, with intent to deny Defendants equal protection of laws,

(d) by refusing or neglecting to prevent such deprivations and denials to plaintiff,
thereby depriving plaintiff of their rights, privileges, and immunities as guaranteed
by the Fourth, Fifth, and Fourteenth Amendments to the Constitution of the United
States.

59. Plaintiffs incorporate the attached Exhibits and Affidavits # 1 through 57 into
this Complaint by reference as if set forth herein.

CLAIMS FOR RELIEF

Case 2:15-cv-02637-SRB Document1- Filed 12/29/15 Page 14 of 20

60. Plaintiffs realleges and incorporates by reference each and every allegation
contained in Paragraph 1 through 24 above, inclusive, as though fully set forth.

61. COUNT ONE: CONSPIRACY TO DENY PLAINTIFFS CIVIL RIGHTS
Defendants' above-described, acting in collusion, with predetermination, conduct
under color of law, and with particularly the acts, commissions and omissions of the
conspirators in preparing and mailing fraudulent documents in order and the
subsequent detention by Police and CPS Workers, combined with the custodial
maltreatment of the plaintiffs, violated the plaintiffs' rights to be free from
unreasonable searches and seizures, and equal protection of the laws and to due
process under the First and Fourteenth Amendments to the United States
Constitution.

62. COUNT TWO DEPRIVATION OF RIGHTS

Defendants' above-described, acting in collusion, with predetermination, conduct,
and particularly the acts, commissions and omissions of the conspirators, and of the
command, supervisory and rank-and-file defendants in ordaining, be free from
unreasonable searches and seizures, and equal protection of the laws and to due
process under the First and Fourteenth Amendments to the United States
Constitution.

63. COUNT THREE: VIOLATION OF FOURTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION 42 U.S.C. §1983
Defendants' above-described conduct, and particularly the acts and omissions of
those defendants involved. Plaintiff as outlined in their Affidavits, violated
plaintiffs' rights to be free from unreasonable searches and seizures under the
Fourth and Fourteenth Amendments to the United States Constitution U.S.C.

§1983

64. COUNT FOUR: VIOLATION OF FOURTEENTH AMENDMENT TO THE
UNITED STATES CONSTITUTION 42 U.S.C. §1983

Defendants' above-described conduct, and particularly the custodial maltreatment
of plaintiffs, including but not limited to the conduct described, violated plaintiffs'
rights to equal protection of the laws and to due process of law under the
Fourteenth Amendment to the United States Constitution.

65. COUNT FIVE: WARRANTLESS ENTRY

Cps Investigated and Interview the Children on Private Property without Exigent
Circumstances or Probable Cause. The decision of the 7th Circuit Court of Appeals
found that this practice, i.e. the “no prior consent” interview of a child, will
ordinarily constitute a “clear violation” of the constitutional rights of parents under
the 4th and 14th Amendments to the U.S. Constitution. According to the Court, the
investigative interview of a child constitutes a “search and seizure” and, when

Case 2:15-cv-02637-SRB Document1- Filed 12/29/15 Page 15 of 20

conducted on private property without “consent, a warrant, probable cause, or
exigent circumstances,” such an interview is an unreasonable search and seizure in
violation of the rights of the parent, child, and, possibly the owner of the private
property. Doe et al, v01-2003 US App. Lexis 7144) 3648. Heck et al (No., The mere
possibility of danger does not constitute an emergency or exigent circumstance that
would justify a forced warrantless entry and a warrantless seizure of a child.
Hurlman v. Rice, @nd Cir. 1991) A due-process violation occurs when a state-
required breakup of a natural family is founded solely on a “best interests” analysis
that is not supported by the requisite proof of parental unfitness. Quz//oin v.
Walcott, 484 U.S. 246, 255, 1978

66. COUNT SIX: FALSE ARREST AND FALSE IMPRISONMENT

Defendants' above-described conduct constitutes false arrest and/or false
imprisonment of plaintiffs. As a direct and proximate result of said false arrest
and/or false imprisonment, plaintiffs suffered general and special damages in an
amount to be proven at trial.

67. COUNT EIGHT: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
Defendants' above-described conduct was extreme, unreasonable and outrageous.
By engaging in such conduct, defendants intentionally ignored or recklessly
disregarded the foreseeable risk that plaintiffs would suffer extreme emotional
distress as a result of defendants' conduct. As a proximate result of said conduct,
plaintiffs suffered severe emotional distress, pain and suffering, fear, anxiety,
embarrassment, discomfort and humiliation, all to their general damage in an
amount to be proven, and incurred special damages in an amount to be proven.

68. COUNT NINE: NEGLIGENCE

Defendants had a duty to properly hire, train, oversee, supervise and discipline
their agents, employees and social workers so as to prevent violations of plaintiffs’
constitutional, statutory, and common law rights and to prevent physical injury to
plaintiffs, and a duty to use their powers and equipment properly to avoid harm to
plaintiffs. By the conduct described above, defendants breached the duty of care
owed to plaintiffs and proximately caused them general and special damages in an
amount to be proven.

69. COUNT TEN: SEIZURES” UNDER THE FOURTH AMENDMENT

Child removals are “seizures” under the Fourth Amendment. Seizure is
unconstitutional without court order or exigent circumstances. Court order
obtained based on knowingly false information violates Fourth Amendment.
Brokaw v. Mercer County, (7th Cir. 2000) Defendant should’ve investigated further
prior to ordering seizure of children based on information he had overheard.
Hurlman v. rice, (@nd Cir. 1991) Police officer and social worker may not conduct a
warrantless search or seizure in a suspected abuse case absent exigent
circumstances. Defendants must have reason to believe that life or limb is in

27

28

Case 2:15-cv-02637-SRB Document1 Filed 12/29/15 Page 16 of 20

immediate jeopardy and that the intrusion is reasonably necessary to alleviate the
threat. Searches and seizures in investigation of a child neglect or child abuse case
at a home are governed by the same principles as other searches and seizures at a
home. Good v. Dauphin County Social Services, (8rd Cir. 1989) Defendants could
not lawfully seize child without a warrant or the existence of probable cause to
believe child was in imminent danger of harm. Where police were not informed of
any abuse of the child prior to arriving at caretaker’s home and found no evidence of
abuse while there, seizure of the child was not objectively reasonable and violated
the clearly established Fourth Amendment rights of the child. Wooley v. City of
Baton Rouge, (th Cir. 2000) For purposes of the Fourth Amendment, a “seizure” of
a person is a situation in which a reasonable person would feel that he is not free to
leave, and also either actually yields to a show of authority from police or social
workers or is physically touched by police. Persons may not be “seized” without a
court order or being placed under arrest. California v. Hodari, 499 U.S. 621 199)

70. EQUITABLE TOLLING

Any statue of Limitations argument by the defendants becomes moot as they
intentionally concealed the fact finding process from the Plaintiffs . Equitable
tolling, this principle of law stating that a statute of limitations shall not bar a
claim in cases where the Plaintiff, despite use of due diligence, could not or did not
discover the injury until after the expiration of the limitations period.

It has been held that equitable tolling applies principally if the plaintiff is actively
misled by the defendant about the cause of action or is prevented in some
extraordinary way from asserting his or her rights. However, it has also been held
that the equitable tolling doctrine does not require wrongful conduct on the part of
the defendant, such as fraud or misrepresentation. In this case the Defendants
willfully committed fraud in their case in chief and by so doing deprived the
Plaintiffs their Constitutional rights.

PRAYER FOR RELIEF
Wherefore, plaintiffs pray for relief as follows:
A. An award of compensatory and general damages against defendants and each of
them, in an amount to be determined according to proof;
B. An award of exemplary and punitive damages against all defendants sued in
their individual capacities in an amount to be proven at trial;
C. An award of statutory damages and penalties pursuant to 42 U.S.C Sec1985 and
42 U.S.C Sec. 1983;
D. An award of plaintiffs' costs, expenses and reasonable attorney's fees pursuant to
42. U.S.C. §1988;

Case 2:15-cv-02637-SRB Document1- Filed 12/29/15 Page 17 of 20

E. The return of Minor children to their birth Mother. As proof will bear out C.P.S.
had no legal right to put the children up for adoption, making the adoptions illegal.
F. Trial By Jury; and such other and further relief as the Court may deem just and

proper.

Respectfully submitted,

The undersigned, being duly sworn, deposes and says that we are the Plaintiffs
herein, and have read the foregoing pleading filed on our behalf, and the facts
stated therein are true.

12 192-1) bee hin

SABRINA GARCIA
139 West Elwood
Phoenix Az. 85041
Pro se

1 Musgion Expl (2%
_ March 1, 2097

EXHIBIT LIST
1) Letter dated march 28» 2011, CPS report #583323
2) Letter dated November 155 2012 CPS failed to provide documents.

Case 2:15-cv- - |
v-02637-SRB .- Popuyew pnfiled CRS Page 18 of 20

DEPARTMENT OF ECONOMIC SECURITY

Your Partaer For A Stronger Arizona

1789 W Jefferson - P.O. Box 6123 - Phoenix, AZ 85005

Janice K Brewer Clarence Carter

Governor Director

March 28, 2011

Sabrina Garcia
139 W Elwood St

Phoenix, AZ 85041-1224

Dear Ms. Garcia:

This is to inform you that the Department of Economic Security (DES) has unsubstantiated the
finding for Child Protective Services (CPS) report #583323, dated 06/21/2010. The finding will not
be entered in the central registry and no further action will be taken by the Protective Services

Review Team.

Services offered or provided to the family include: case management and Forensic victim services.

Sincerely,

Bruce Nittle
Regional Review Specialist
Protective Services Review Team

Division of Children, Youth and Families

c.c. File 2/2014

Case 2:15-cv-02637-SRB_ _Docyment1 9 Rited (2709¥15 Page 19 of 20
SUENRE ~

ERR t
4 Maricopa County Office of the Public Advocate
oo bags Dependency Division
| Se CHRISTINA PHILLIS
THE PUBLIC ADVOCATE

November 15, 2012

Ms, Sabrina Garcia
139 W. Elwood Street
Phoenix, AZ 85041

Re: JD509005
Dear Ms. Garcia:

The attached letter means CPS may have failed to disclose/provide all documents in
your case. it is possible that this may allow your ‘case to be re-opened. If you would like to

discuss this possibility please contact me at 602-372-2815.

I cannot take further action without speaking with you first.

Sincerely

David Lieb
Attorney
Office of the Public Advocate

TAT W. Souther Avenue Suteli : 3131 WW. Durango
AMiesa, AZ 85210 . . wes . . . Phoems, AZ xS000
6602-372-2815 Main © 602-372-8919 Fay Sapeguantting the rights of vitixens involved in Juvenile 602-372-9560 Main © 602-372-8918 Fax

and Mental } leelth Court

Case 2:15-cv-02637-SRB Document 1 Filed 12/29/15. Page 20 of 20 -—___-___....

WITNESS LIST

AG.
L. G.
J.G.

JOHN GARCIA SR.
TIFFANY TAYLOR
DANIEL GILDAY
RAPH CONTERA
GREGORY MALKIN
KEVIN VALE
SUSAN LOMBRESS
DEAN TONY
NANCY WITWALL
DR. GLEN MOE
ANGELA POTTER
ARTHER DAVIS
NAT LOVE
DELORES JIRON ALMA
ANN MILLER
JANE PARKER
SUSA TALTZ
DR. MARC WALTER
JEANY EKSTORM
NELLIE CLOTTER
JOHN POPILEK

